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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                  8:17CR171

        vs.
                                                                    ORDER
DANNY L. STICE,

                      Defendant.


       This matter is before the Court on the Defendant’s Motion for Early Termination of

Supervised Release, ECF No. 64. The Government objects to such early termination,

and the Defendant does not meet other criteria used by the Court’s Probation Office in

determining eligibility for early termination of supervision. Accordingly, the Motion will be

denied, without prejudice to re-submission not less than one year following the date of

this Order.

       IT IS ORDERED:

       1.     The Defendant’s Motion for Early Termination of Supervised Release, ECF

              No. 64, is denied;

       2.     The Clerk will mail a copy of this Order to the Defendant at his last known

              address.

       Dated this 7th day of January 2019.


                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  Senior United States District Judge
